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 1   Eliot A. Adelson (SBN 205284)
     James Maxwell Cooper (SBN 284054)
 2   KIRKLAND & ELLIS LLP
     555 California Street, 27th Floor
 3   San Francisco, CA 94104
     Telephone: (415) 439-1400
 4   Facsimile: (415) 439-1500
     Email: eadelson@kirkland.com
 5   Email: max.cooper@kirkland.com
 6   James H. Mutchnik, P.C. (pro hac vice)
     Kate Wheaton (pro hac vice)
 7   KIRKLAND & ELLIS LLP
     300 North LaSalle
 8   Chicago, IL 60654
     Telephone: (312) 862-2000
 9   Facsimile: (312) 862-2200
     Email: jmutchnik@kirkland.com
10   Email: kate.wheaton@kirkland.com
11   Attorneys for Defendants
     HITACHI, LTD., HITACHI AMERICA, LTD.,
12   HITACHI ASIA, LTD., HITACHI DISPLAYS,
     LTD. (n/k/a JAPAN DISPLAY, INC.), HITACHI
13   ELECTRONIC DEVICES (USA), INC.
14                                    UNITED STATES DISTRICT COURT

15                                 NORTHERN DISTRICT OF CALIFORNIA

16                                         SAN FRANCISCO DIVISION

17   IN RE: CATHODE RAY TUBE (CRT)                       CASE NO.: 3:07-cv-05944-SC
     ANTITRUST LITIGATION
18                                                       MDL NO.: 1917
     ________________________________________
19                                                       Individual Case No. 3:13-cv-02171-SC
     This Document Relates To:
20                                                       DECLARATION OF ROSS MURRAY
     Dell Inc., et al. v. Hitachi, Ltd., et al.          RE DISSEMINATION OF
21                                                       HITACHI/SAMSUNG NOTICE TO
                                                         CLASS MEMBERS AND REQUESTS
22                                                       FOR EXCLUSION
23

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     DECLARATION OF ROSS MURRAY RE DISSEMINATION                                       MDL NO.: 1917
     OF HITACHI/SAMSUNG NOTICE TO CLASS MEMBERS                 INDIVIDUAL CASE NO.: 3:13-CV-02171-SC
     AND REQUESTS FOR EXCLUSION
        Case 4:07-cv-05944-JST Document 2712-1 Filed 07/28/14 Page 2 of 3



 1          I, Ross Murray, declare as follows:
 2          1.      I am employed by Gilardi & Co., LLC (“Gilardi”), located at 3301 Kerner Blvd., San
 3   Rafael, California. Gilardi was hired by class counsel as the Settlement Administrator in this matter.
 4   I am over 21 years of age and am not a party to this action. I have personal knowledge of the facts
 5   set forth herein and, if called as a witness, could and would testify competently thereto.
 6          2.      Between May 16 and May 29, 2012, Gilardi received from Direct Purchaser
 7   Plaintiffs’ Counsel eight files which included the names, and, where available, the addresses and
 8   electronic mail addresses of all class members identified by Defendants in this matter (“the class
 9   list”). Gilardi formatted the list for mailing purposes, removed duplicate records, removed known
10   Defendant entities, researched company names lacking addresses and added addresses where found,
11   and processed the names and addresses through the National Change of Address Database to update
12   any addresses on file with the United States Postal Service (“USPS”).
13          3.      On April 28, 2014, Gilardi caused Notice of the Direct Purchaser Plaintiffs’
14   settlement with the Hitachi Defendants and Samsung SDI Defendants to be printed and mailed to
15   16,895 unique names and addresses on the class list. Gilardi delivered the Hitachi/Samsung Notices
16   to the United States Post Offices located in Santa Rosa, California. A true and correct copy of the
17   Hitachi/Samsung Notice is attached hereto as Exhibit A.
18          4.      Among those names and addresses were: (1) Dell Computer Corporation, 1 Dell Way,
19   Round Rock, TX 78682-0001; and (2) Dell Computer Corporation #4 (EDC), PO Box 149257,
20   Austin, TX 78714-9257. These were the same addresses to which Gilardi mailed previous notices of
21   previous settlements with other defendant groups. The second was returned as undeliverable. The
22   first was not returned as undeliverable.
23          5.      Dell Inc. and Dell Products L.P. (collectively “Dell”) previously filed requests for
24   exclusions from settlements between the Direct Purchaser Plaintiffs and other defendant groups.
25          6.      On or before June 7, 2012, Gilardi established a case-dedicated website at
26   www.CRTDirectPurchaserAntitrustSettlement.com. There, potential class members can view and
27   print copies of, among other documents, the Hitachi/Samsung Notice, the Hitachi Settlement
28   Agreement, the Order Granting Class Certification and Preliminary Approval of Class Action
     DECLARATION OF ROSS MURRAY RE DISSEMINATION       1                                      MDL NO.: 1917
     OF HITACHI/SAMSUNG NOTICE TO CLASS MEMBERS                        INDIVIDUAL CASE NO.: 3:13-CV-02171-SC
     AND REQUESTS FOR EXCLUSION
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